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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                      )
IN RE: PHILIPS RECALLED CPAP, BI-LEVEL PAP,
                                                      )
AND MECHANICAL VENT ILAT OR PRODUCT S
LIT IGAT ION                                          )
                                                      )
IN RE: SOCLEAN, INC. MARKET ING, SALES                )
PRACT ICES AND PRODUCT S LIABILIT Y                   )
LIT IGAT ION                                          )
T his document relates to:                            )
                                                      )
Koninklijke Philips N.V. et al. v. SoClean, Inc. & DW )    Master Docket Nos. 21-mc-1230
Mgmt. Servs., LLC                                          and 22-mc-152
                                                      )
(MDL 3014, ECF No. 2922)                              )    MDL Nos. 3014 and 3021
                                                      )
Philips RS North America LLC v. SoClean, Inc. et al. )
(MDL 3021, ECF No. 653)                               )
                                                      )
Koninklijke Philips N.V. et al. v. SoClean, Inc. & DW )
Mgmt. Servs., LLC                                     )
(MDL 3021, ECF No. 507)                               )
                                                      )
SoClean, Inc. v. Koninklijke Philips N.V. et al.      )
(MDL 3021, ECF No. 211)

MOTION FOR ENTRY OF SCHEDULING ORDER GOVERNING ALL LITIGATION
     BETWEEN THE PHILIPS PARTIES AND THE SOCLEAN PARTIES

              T here are four litigation tracks between the various Philips, SoClean and DW

parties: (1) SoClean’s affirmative claims (MDL 3021, ECF No. 211), (2) Philips’ counterclaims

(MDL 3021, ECF No. 507), (3) Philips’ contribution claims (personal injury) (MDL 3014, ECF

2922)), and (4) Philips’ assigned claims (property damage economic loss) (MDL 3021 ECF No.

653). T he parties have engaged in extensive discussions, overseen by Special Master Katz, to

attempt to reach agreement on a scheduling order to govern these proceedings. However, the

parties were unable to reach agreement on a joint schedule. A number of significan t areas of

disagreement remain.




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                T he attached schedule (Ex. 1) is the parties’ attempt to lay out their proposals and

the disputes that remain. In addition, because the various footnotes in the attachment have become

somewhat unwieldy, the Philips parties are submitting a separate brief (Ex. 2) laying out their

positions on each disputed item. T he SoClean and DW parties have declined to file a separate

brief at this time.


Dated: August 14, 2024                                  Respectfully submitted,

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